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November 3, 2017
Via ECF
Hon. Robert W. Sweet, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re: Maikel T. Shonouda v. Charles J. Nafie Architect DPC, et al.
Case No.: 1:17-cv-6098-RWS

Dear Judge Sweet:

We just have been retained to represent Defendants Charles J. Nafie Architect DPC and
Charles .l. Nat`ie (together, “Defendants”). We write respectfully to request a further extension of
time for Defendants to respond to the Complaint Pursuant to FLSA and New York Labor Law (the
“Complaint”) filed on behalf of Plajntifi` Maikel T. Shono.uda (“Plaintifi”), until Deoernber 8,
2017. We intend to use that period of time (iust over thirty days, due to the undersigned being out
of state from December 1 through December 5) to complete our investigation of the matter and, to
the extent that may be possible, to pursue resolution Plaintiff’s counsel has graciously consented
to this request.

Please note that, although this is the second request for an extension of time to respond to
the Complaint, the prior request was made in good faith by Plaintifi"s counsel at the request of
Defendants, who at the time were unrepresented and attempting to engage counsel. We do not
expect the requested further adjournment to delay resolution of this matter; to the contrary, as
referenced above and with all parties now having representation, we intend expeditiously to
explore the possibility of an amicable solution.

Your Honor’s consideration is greatly appreciated

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Respectfully submitted,

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DANIEL C. R_ITSON

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cc: Peter H. Cooper, Esq. (via ECF)

